Case 2:17-cv-14033-DMM Document 21 Entered on FLSD Docket 06/01/2017 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                 CASE NO.: 17-cv-14033-DMM

     GARY PEEPLES,

                    Plaintiff,

            v.

     RIDLEY USA, INC., A FOREIGN
     CORPORATION, ALLTECHNOLOGY,
     INC., A FOREIGN CORPORATION,
     A/K/A ALLTECH, INC., AND
     LAKELAND ANIMAL NUTRITION,
     INC., A FLORIDA CORPORATION,

                 Defendants.
     ___________________________________/


                    STIPULATION FOR DISMISSAL WITH PREJUDICE

            Plaintiff, GARY PEEPLES, and Defendant (s), RIDLEY USA, INC., A

     FOREIGN        CORPORATION,           ALLTECHNOLOGY,          INC.,    A     FOREIGN

     CORPORATION,          A/K/A     ALLTECH,       INC.,   AND    LAKELAND        ANIMAL

     NUTRITION, INC., A FLORIDA CORPORATION, through their respective

     undersigned counsel and pursuant to Rule 41(a)(1) of the Federal Rules of Civil

     Procedure, hereby stipulate to the dismissal of this entire action, with prejudice, each

     party to bear their own attorneys’ fees and costs.
Case 2:17-cv-14033-DMM Document 21 Entered on FLSD Docket 06/01/2017 Page 2 of 3




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     [Attorneys for Plaintiff, GARY PEEPLES]             [Attorneys for Defendant, RIDLEY USA, INC.,
                                                         ALLTECHNOLOGY, INC., a/k/a ALLTECH,
                                                         INC., and LAKELAND ANIMAL
                                                         NUTRITION, INC.]



                                   CERTIFICATE OF SERVICE

               I certify that on June 1, 2017, I electronically filed the foregoing document with

     the Clerk of the Court by using the CM/ECF system. I also certify that the foregoing

     document is being served this day on all counsel of record or pro se parties identified on

     the attached Service List in the manner specified, either via transmission of Notices of

     Electronic Filing generated by CM/ECF or in some other authorized manner for those

     counsel or parties who are not authorized to receive electronically Notices of Electronic

     Filing.



                                                     By: /s/Arianne B. Suarez
                                                     Arianne B. Suarez, Esquire
                                                     Florida Bar No: 143529
Case 2:17-cv-14033-DMM Document 21 Entered on FLSD Docket 06/01/2017 Page 3 of 3




                                         SERVICE LIST

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